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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 SUSAN PHILLIPS and JEFFREY                        )
 PHILLIPS, as Administrators of the Estate of      )
 MATTHEW PHILLIPS, Deceased,                       )
                                                   )
                                                   )    No. 22 C 1048
                                Plaintiffs,        )
                       v.                          )    Judge Wood
                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                Defendant.         )

          UNITED STATES’ UNOPPOSED MOTION FOR EXTENSION
OF TIME TO RESPOND TO COMPLAINT AND OF THE INITIAL STATUS HEARING

        Defendant United States of America, by its attorney, John R. Lausch, Jr., United States

 Attorney for the Northern District of Illinois, moves the court for a 45-day extension of both the

 time to respond to the complaint of plaintiffs Susan Phillips and Jeffrey Phillips, administrators

 of the Estate of Matthew Phillips, deceased, and of the initial status hearing in this case. In

 support of this motion, defendant states as follows:

       1.      On February 28, 2022, plaintiffs filed a Federal Tort Claims Act complaint against

the United States, alleging wrongful death and negligence. Dkt. 1.

       2.      The complaint and summons were served on the United States Attorney’s office

by certified mail and received on April 27, 2022. Dkt. 9.

       3.      Defendant’s answer to the pleading is due on June 27, 2022. Fed. R. Civ. P.

12(a)(2), see also Fed. R. Civ. P. 6(a)(1)(C).

       4.      In addition, the court set the initial status hearing in this matter for July 6, 2022,

at 9:15 a.m., and ordered that the parties submit an initial status report seven days before the

initial status hearing, or by June 29, 2022. Dkt. 8.
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       5.         After service of the complaint and assignment of the matter to the undersigned

attorney, counsel for defendant promptly informed the agency defendant (Federal Bureau of

Prisons) of the lawsuit and requested case information. Counsel for defendant has not yet

received the necessary information about the case from the Bureau of Prisons, and therefore is

not yet in a position to complete the response to the plaintiffs’ complaint or the information

requested by in the initial status report, per the court’s standing order.

       6.         Notably, this matter is further complicated by the pending criminal prosecution

related to the events alleged in the complaint, which is currently in discovery. See United States

v. Simonson, et al., No. 21 CR 50064 (N.D. Ill.).

       7.         In light of the above, defendant requests a 45-day extension, or until August 11,

2022, to investigate plaintiffs’ claims and prepare a responsive pleading.

       8.         In connection with this request, defendant further requests that the initial status

hearing currently set for July 6, 2022, be reset to August 21, 2022.

       9.         Plaintiffs’ counsel has no objection to this request.

       10.        This request is not made for the purposes of delay, but rather to allow the

defendant to investigate plaintiffs’ claims more fully before responding to their complaint and to

allow the parties to fully engage in meaningful case management discussions prior to the initial

status hearing.




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       WHEREFORE, the United States requests an extension of time to August 11, 2022, to

respond to plaintiffs’ complaint and that the July 6, 2022 initial status hearing be reset to August

21, 2022.

                                              Respectfully submitted,

                                              JOHN R. LAUSCH, Jr.
                                              United States Attorney

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